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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES − GENERAL

 Case No.    8:21−cv−00549−CJC−ADS               Date 5/19/2021
 Title       JAMES SHAYLER V. DUDLEY PROPERTIES LLC ET AL

 Present : The Honorable CORMAC J. CARNEY, U.S. DISTRICT JUDGE

               Cheryl Wynn                                   Not Reported
               Deputy Clerk                           Court Reporter / Recorder


     Attorneys Present for Plaintiffs:           Attorneys Present for Defendants:
              None Present                                  None Present


Proceedings:        (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE
                    OF DISMISSAL

     The Court is in receipt of Plaintiff’s Notice of Dismissal of the entire action [14],
and hereby orders the case dismissed with prejudice. Further, the Court orders all
proceedings in the case vacated and taken off calendar.


                                                                           −     :     −
                                               Initials of Deputy Clerk: cw




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